Case 2:05-cv-02493-SHI\/|-dkv Document 4 Filed 08/08/05 Page 1 of 3 Page|D 1

 

HLED 8
IN THE UNITED STATES DISTRICT COURT Y §§ D.c.
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG _
WESTERN DIVISION 9 AHN.- 25
DENISE wILLIAMs, widow and Nexr EWE}_~§ 3 ’»W‘rcqm
of K'm of EARL WILLIAMS, Decedem, ' “ -`f`*fPHG
Plaintiff,
vs. No. 05-2493 Ma V

SHELBY COUNTY, SHELBY COUNTY
SHERIFF’S DEPARTMENT, MARK
LUTTRELL, SHERIFF, CLAY AITKEN,
DEPUTY, AND JOHN AND JANE DOES

Defendants .

 

CONSENT ORDER ALLOWING EXTENSION OF TIME

 

It appearing to the Court by consent of the parties, the Defendants Shelby County,
Shelby County Sheriff’S Department, Sheriff Mark Luttrell, and Deputy Clay Aitken are

allowed until Septernber 23, 2005 to flle responsive pleadings to the Complaint.

J/»@/w 7( %('/W&” l
£Z 5 141an 2446/gc
Date: CZM/W Y, 3565

 

 

Tizls document entered on the docket attth in c pliance
with Rule :)ts and/or 79{3) FRCP on '

Case 2:05-cv-02493-SHI\/|-dkv Document 4 Filed 08/08/05 Page 2 of 3 Page|D 2

APPROVED:

ja ` ;__ ,4, M¢//““‘"“"’ €/`?/J`T_

Louis P. Chiozz ., }(tf’orney"for Plaintiff

,/'E%»¢)M/¢e?¢w/M ?/?Azf

Kathleen Ball, Attorney for P"laintiff

 

 

MKM,¢, £¢/L

e ra Fessenden, Attorney for Det¥ndants
Shelby County, Shelby County Sheriff’s
Departrnent, Sheriff Mark Luttrell, and
Deputy Clay Aitken

 

Eug e C. Gaerig,<§t,th-)g{ey for Defendants
Shelby County, Shel ounty Sheriff’s

Department, Sheriff Mark Luttrell, and
Deputy Clay Aitken

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02493 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Louis P. Chiozza

CHIOZZA & ASSOCIATES
230 Adams Ave.

l\/lemphis7 TN 38103

Kathleen Ball

BALL LAW FIRM
3173 Poplar Avenue
l\/lemphis7 TN 38111

Honorable Samuel Mays
US DISTRICT COURT

